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w/.UN-ITED»’STA"I&+;S OF AMERICA,
Plaintiff,
v. No.04-2r0 7 - I
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MOTION TO CONTINUE REPORT DATE

 

Defendant Antonio Owens, by and through counsel J uni S. Ganguli, respectfully
requests a continuance of the report date in this case. The report date is currently set for
May 27, 2005.

ln support thereof, Defendant Would show the following

l. Mr. Owens is cooperating with law enforcement in a complex state court
matter.

2. The cooperation is ongoing, and may impact a future plea agreement

3. Counsei for the United States, Katrina Earlcy, has no objection to this
request.

4. Defendant Would request that the case be continued for sixty days.

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Respectfully submitted,

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JUNI s. GANGULI (TN 013659)
Attorney for Defendant Antonio Owens
40 South Main Street, Suite 1540
Memphis, TN 38103

(901) 544-9339

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing has been delivered
to all interested parties on this the 20th day of May, 2005.

525 A,VA

Juni S. Gangulj _.)

   

UNITED sTATE DRISTIC COURT - WESTER D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20478 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listedl

 

 

J uni S. Ganguli

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Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

